
LEWIS J.,
concur in result only.
The Court today draws a distinction without a material difference with regard to this case and Saia Motor Freight Line, Inc. v. Reid, 930 So.2d 598 (Fla.2006). In both cases the parties were specifically made aware that issues with regard to costs and attorney fees remained open and would be determined by the Court. There is no uncertainty or prejudice with regard to timing in either case. Gulliver Academy, Inc. v. Bodek, 694 So.2d 675 (Fla.1997), and Chamizo v. Forman, 933 So.2d 1240 (Fla. 3d DCA 2006), were correctly decided and Saia Motor Freight misdirected Florida law in this area.
